MRS. J. M. HUDSON, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Hudson v. CommissionerDocket No. 15024.United States Board of Tax Appeals14 B.T.A. 985; 1929 BTA LEXIS 3010; January 3, 1929, Promulgated *3010  In 1906, prior to the discovery of any oil thereon, petitioner and her husband acquired by purchase the fee simple title to certain lands.  The land had no mineral value at the date of purchase or on March 1, 1913.  In 1919 petitioner and her husband granted a mineral lease on such property retaining a one-eighth royalty interest.  In 1921 oil was discovered and thereafter petitioner and her husband sold a portion of their retained royalty interest.  Held, the entire amount received from the sale of such portion was income under section 202 of the Revenue Act of 1921.  Appeal of Anna Taylor,3 B.T.A. 1201"&gt;3 B.T.A. 1201. Maxwell E. McDowell, Esq., for the respondent.  GREEN *985  In this proceeding the petitioner seeks a redetermination of her income-tax liability for the calendar year 1921, for which year the respondent in his deficiency letter dated January 28, 1926, determined a deficiency of $590.16.  The petition alleges that the respondent erred in treating as income the entire amount received from the sale of a portion of a royalty interest arising under a lease of property which it is stipulated had no known mineral value at the date*3011  of purchase in 1906 or on March 1, 1913.  FINDINGS OF FACT.  The petitioner is an individual residing at Magnolia, Ark.  In 1906 she and her husband purchased in fee for $1,000 certain lands in Claiborne Parish, Louisiana, more particularly described as follows: SE 1/4 of SE 1/4 and NE 1/4 of SE 1/4, section 17, township 23 north, range 8 west, Claiborne Parish, Louisiana.  *986  This property had no known mineral value at the date of purchase or on March 1, 1913.  During 1919, petitioner and her husband granted a mineral lease on the foregoing property to one J. E. Smitherman, Shreveport, La., in consideration of the payment of the sum of $80, and a one-eighth royalty interest in all oil to be produced by the lessee.  In March, 1921, oil was discovered under the property and the field became known as the Haynesville oil field.  After such discovery the petitioner and her husband sold one-half of their retained royalty interest in the SE 1/4 of the SE 1/4 and five-eights of their retained royalty interest in the NE 1/4 of the SE 1/4 of the above described property for $12,000.  After the sale the petitioner and her husband still owned a one-sixteenth royalty interest*3012  in the SE 1/4 of the SE 1/4 and a three-sixty-fourths royalty interest in the NE 1/4 of the SE 1/4 of said section 17, township 23 north, range 8 west.  With respect to such remaining interests which the petitioner and her husband did not sell, the respondent concedes that they are entitled to a unit rate of depletion of $1.295 per barrel for the year 1922.  The respondent also concedes that the petitioner's and her husband's remaining recoverable oil content in said property is 48,792.66 barrels with a capital value of $63,186.49.  OPINION.  GREEN: The petitioner did not appear and was not represented at the hearing.  The above facts have been found from allegations of the petition which were admitted in the answer and from a stipulation of facts entered into by the parties.  The petitioner is contending that in computing the profit or loss resulting from the sale of a portion of her and her husband's royalty interests they should be permitted to apply against the selling price such amounts as the respondent would have allowed them as deductions under section 214(a)(10) of the 1921 Act for depletion based on a discovery value as if they had not sold such a portion of their royalty*3013  interest.  This was the identical question that was before the Board in the , in which we decided adversely to such a contention.  Our decision there is controlling here.  See also . Judgment will be entered for the respondent.